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 6   Attorneys for LeJohn Windom, Sr.
 7

 8                                  UNITED STATES DISTRICT COURT
 9                                  EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES,                                   No. 2:15-cr-029 TLN
12                     Plaintiff,
13          v.                                        STIPULATION AND ORDER
14   LEJOHN WINDOM, SR., et. al.,
15                     Defendants.
16

17
            IT IS HEREBY STIPULATED AND AGREED between the defendants, LeJohn
18
     Windom, Sr., Audrey Johnson, Tracy Hartway, and LeJohn Windom, Jr., by and through their
19
     undersigned defense counsel, and the United States of America, by and through its counsel,
20
     Assistant U.S. Attorney Matthew Morris, that the status conference presently set for April 7, 2016
21
     at 9:30 a.m., should be continued to May 26, 2016 at 9:30 a.m., and that time under the Speedy
22
     Trial Act should be excluded from April 7, 2016 through May 26, 2016.
23
            The reason for the continuance is that the defense needs additional time to conduct pretrial
24
     investigation, and to complete plea negotiations. The exclusion of time is also necessary to ensure
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     continuity of counsel. Accordingly, the time between April 7, 2016 and May 26, 2016 should be
26
     excluded from the Speedy Trial calculation pursuant to Title 18, States Code, Section
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     3161(h)(7)(B)(iv) and Local Code T-4 for defense preparation. The parties stipulate that the ends
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                                                     1
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 1   of justice served by granting this continuance outweigh the best interests of the public and the
 2   defendants in a speedy trial. 18 U.S.C. §3161(h)(7)(A). Mr. Morris, Mr. Hansen, Mr. Bigelow,
 3   and Mr. Beevers have authorized Mr. Locke to sign this pleading for them.
 4   DATED: April 1, 2016                                  /s/ Bruce Locke
                                                           BRUCE LOCKE
 5                                                         Attorney for LeJohn Windom, Sr.,
 6
     DATED: April 1, 2016                                  /s/ Bruce Locke
 7                                                         For DOUGLAS BEEVERS
                                                           Attorney for Audrey Johnson
 8

 9   DATED: April 1, 2016                                  /s/ Bruce Locke
                                                           For MICHAEL HANSEN
10                                                         Attorney for Tracy Hartway
11
     DATED: April 1, 2016                                  /s/ Bruce Locke
12                                                         For MICHAEL BIGELOW
                                                           Attorney for LeJohn Windom, Jr.,
13

14   DATED: April 1, 2016                                  /s/ Bruce Locke
                                                           For MATTHEW MORRIS
15                                                         Attorney for the United States
16

17

18          The Court finds, for the reasons stated above, that the ends of justice served by granting
19   this continuance outweigh the best interests of the public and the defendants in a speedy trial, and,
20   therefore.
21          IT IS SO ORDERED.
22   DATED: April 1, 2016
23
                                                            Troy L. Nunley
24                                                          United States District Judge

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